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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

CHARLES PETER ERNST                                  CIVIL ACTION NO. 21-1829

VERSUS                                               JUDGE MORGAN

PHILLIPS 66 COMPANY AND                              MAGISTRATE JUDGE NORTH
PHILLIPS 66


                    JOINT MOTION TO ENTER 60-DAY DISMISSAL ORDER


          NOW INTO COURT, through undersigned counsel, come Plaintiff Charles Peter Ernst

and Defendants Phillips 66 Company and Phillips 66, who move this Honorable Court to enter a

60-day dismissal without prejudice order. The basis of this motion is that the parties anticipate

filing a joint motion to dismiss the plaintiff’s claims with prejudice with each party to bear their

own costs and attorneys’ fees within the next 60 days.

                                              Respectfully Submitted:

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                                              Attorneys for Phillips 66 Company and Phillips 66



                                  CERTIFICATE OF SERVICE

          I hereby certify that a copy of the foregoing was filed electronically with the Clerk of

Court using the CM/ECF system. Notice of this filing will be sent to the following, by operation

of the Court’s electronic filing system:

          Chelsea Brener Cusimano
          M. Suzanne Montero
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          Baton Rouge, Louisiana this 19th day of May, 2023.


                                   /s/Scott D. Huffstetler
                                        Scott D. Huffstetler




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